Megan R. Condon (AK Bar No. 1810096)
NATIVE AMERICAN RIGHTS FUND
745 West 4th Avenue, Suite 502
Anchorage, AK 99501
Phone: (907) 276-0680
mcondon@narf.org

Lead Counsel for Plaintiffs Native Village of Venetie
Tribal Government, Arctic Village Council, and Venetie Village Council

Peter H. Van Tuyn (AK Bar No. 8911086)
Karen E. Schmidt (AK Bar No. 1211113)
BESSENYEY & VAN TUYN, LLC
911 West 8th Avenue, Suite 101, PMB 59
Anchorage, AK 99501
Phone: (907) 278-2000
peter@bvt-law.com
karen@bvt-law.com

Co-Counsel for Plaintiffs Native Village of Venetie Tribal Government,
Arctic Village Council, and Venetie Village Council

                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

 NATIVE VILLAGE OF VENETIE
 TRIBAL GOVERNMENT, et al.,

              Plaintiffs,

       v.                                          Case No. 3:20-cv-00223-SLG

 DEBRA HAALAND, et al.,

              Defendants

       and

 NORTH SLOPE BOROUGH, et al.,

              Intervenor-Defendants.


Native Village of Venetie Tribal Government v. Haaland, 3:20-cv-00223-SLG
Joint Status Report and Mot. to Continue Stay                                          1

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JOINT STATUS REPORT AND UNOPPOSED MOTION TO CONTINUE STAY

       The Parties hereby respond to the Court’s December 10, 2024, Text Order

instructing the Parties to indicate what actions may be necessary to resume or resolve this

litigation. ECF No. 104. Counsel for the parties in all four lawsuits challenging the 2020

Leasing Program have conferred. In each of the four cases, the Parties are filing a joint

status report, in which Plaintiffs and Defendants request, and no party opposes, a continued

stay until February 28, 2025. A continued stay is appropriate, because this case may be

impacted by a decision in a separate pending case as well as forthcoming agency actions.

       Additional time will allow the Parties to evaluate next steps in light of Alaska

Industrial Development and Export Authority v. U.S. Department of the Interior, Case No.

3:24-cv-00051-SLG, a lawsuit challenging the Department of the Interior’s (“Interior”)

cancelation of leases issued under the 2020 Leasing Program. The case is fully briefed and

submitted to this Court for a decision. In that case, the Alaska Industrial Development and

Export Authority (“AIDEA”) seeks the reinstatement of its leases issued under the 2020

Leasing Program. Because the remedy AIDEA seeks could impact how the parties pursue

the present case, continuing the stay in this case is appropriate.

      Additional time will also allow the Parties to consider the potential impacts of

forthcoming agency actions on the next steps in this case. Following Interior’s adoption of

a revised Leasing Program for the Coastal Plain of the Arctic National Wildlife Refuge on

December 8, 2024, see Status Report, ECF No. 103 (Dec. 9, 2024), Interior announced that

it will hold a lease sale on January 9, 2025. See Notice of Lease Sale and Notice of Detailed


Native Village of Venetie Tribal Government v. Haaland, 3:20-cv-00223-SLG
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Statement of Sale for the Coastal Plain 2025 Oil and Gas Lease Sale, 89 Fed. Reg. 99,270

(Dec. 10, 2024). Once the lease sale occurs, the Parties will know if any entities submitted

bids for leases. Interior has committed to temporarily refrain from issuing any leases to

third-party bidders that overlap with AIDEA’s prior leases issued pursuant to the

challenged 2020 Leasing Program. See Alaska Industrial Development and Export

Authority v. U.S. Department of the Interior, Case No. 3:24-cv-00051-SLG, Unopposed

Motion for Extension of Time, ECF No. 86 (Dec. 6, 2024). Continuing the stay in the

present case until Interior determines whether to issue additional leases is appropriate

because the Leasing Program defines the areas available for lease as well as lease terms

and conditions, which are at issue in this case.

      Following conferral, Defendants acknowledge that various events could occur in

early 2025 that have the potential to affect the Coastal Plain Oil and Gas Program.

Defendants further note, in light of the possibility of such events, that Plaintiffs do not wish

to dismiss the above-captioned lawsuit at this time. Defendants agree that it may ultimately

conserve the resources of the parties and the Court to continue the stay of proceedings in

this case until February 28, 2025, when the parties can revisit the status of this litigation.

Intervenor-Defendant State of Alaska does not oppose the request for a stay, while the other

Intervenor-Defendants take no position.

       Plaintiffs and Defendants therefore jointly request that this Court continue the stay

of proceedings in this case to allow the Parties to consider the potential impacts of future

Court and agency decisions on the present case. The Parties will submit a Joint Status


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Joint Status Report and Mot. to Continue Stay                                                3

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Report on or before February 28, 2025, to advise the Court of the Parties’ positions

regarding whether and how to proceed with this litigation.

      RESPECTFULLY SUBMITTED this 31st day of December, 2024.


                                           /s/ Megan R. Condon
                                           Megan R. Condon (AK Bar No. 1810096)
                                           NATIVE AMERICAN RIGHTS FUND

                                           Peter H. Van Tuyn (AK Bar No. 8911086)
                                           Karen E. Schmidt (AK Bar No. 1211113)
                                           BESSENYEY & VAN TUYN, LLC

                                           Counsel for Plaintiffs Native Village of
                                           Venetie Tribal Government, Arctic Village
                                           Council, and Venetie Village Council


                                           TODD KIM
                                           Assistant Attorney General
                                           United States Department of Justice
                                           Environment and Natural Resources Division

                                           /s/ Paul A. Turcke
                                           PAUL A. TURCKE
                                           Trial Attorney
                                           Natural Resources Section
                                           1290 West Myrtle Street, Suite 500
                                           Boise, ID 83702
                                           202-532-5994 || 202-305-0275 (fax)
                                           paul.turcke@usdoj.gov
                                           Counsel for Defendants




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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of December, 2024, I electronically filed the
foregoing JOINT STATUS REPORT AND MOTION TO CONTINUE STAY and
PROPOSED ORDER with the Clerk of the Court for the United States District Court for
the District of Alaska by using the CM/ECF system.


                                           /s/ Megan R. Condon
                                           Megan R. Condon (AK Bar No. 1810096)
                                           NATIVE AMERICAN RIGHTS FUND




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